                            IN THE UNITED STATES DISTRICT COURT
                           FOR THE SOUTHERN DISTRICT OF INDIANA
                                    INDIANAPOLIS DIVISION

 USIC, LLC; USIC LOCATING                        )
 SERVICES, LLC; and LOCATE                       )
 HOLDINGS, INC.,                                 )
                                                 )
             Plaintiffs,                         )
                                                 )
 vs.                                             )    Case No.: 1:16-cv-3285
                                                 )
 BRENT COFFIELD, TRAVIS DANIELS,                 )
 BRIAN HANNA, ZACH MATNEY,                       )
 ERIC MOODY, TOM ORTH, and                       )
 CONSOLIDATED INFRASTRUCTURE                     )
 GROUP, INC.,                                    )
                                                 )
            Defendants.                          )
 cv


                                    NOTICE OF REMOVAL

       Pursuant to 28 U.S.C. §§ 1441 and 1446, and Local Rule 81-1, Defendants, by and through

their undersigned counsel, hereby remove the action filed by Plaintiffs in the Superior Court of

Marion County, Indiana, Cause No. 49D01-1611-PL-039993 (hereinafter “Indiana State Court

Action”), to the United States District Court for the Southern District of Indiana. Removal is based

upon federal question jurisdiction pursuant to 28 U.S.C. § 1331, because a federal question appears

on the face of the initial pleading filed by Plaintiffs in the Indiana State Court action. Removal is

also based upon diversity of citizenship pursuant to 28 U.S.C. § 1332(a)(1), because Plaintiffs

“fraudulently joined” Defendant Consolidated Infrastructure Group, Inc. (“CIG”), to the Indiana

State Court Action solely for purposes of defeating diversity and preventing removal and

consolidation of this action with a pending federal court action in the United States District Court

for the District of Nebraska, between the same parties and involving the same issues.
                                          I. Background

       1.      Plaintiffs USIC, LLC, USIC Locating Services, LLC, and Locate Holdings, Inc.

(hereinafter collectively referred to as “USIC”), are engaged in the business of providing

underground utility locating services to utilities and public and private parties. USIC is by far the

largest provider of utility locating services in the United States and controls a dominant share of

the market.

       2.      Defendants Brent Coffield (“Coffield”), Travis Daniels, Brian Hanna (“Hanna”),

Zach Matney, Eric Moody, and Tom Orth (hereinafter collectively referred to as “Former

Employees”) are former employees of USIC. None of the Former Employees are citizens of the

State of Indiana.

       3.      Defendant CIG is a recently formed competitor of USIC, also engaged in the

business of providing underground utility locating services to utilities and public and private

parties. CIG does not maintain any office or location in the State of Indiana and does not conduct

business in Indiana.

       4.      In September of 2016, CIG hired the Former Employees after they terminated their

employment with USIC.

       5.      On October 14, 2016, USIC served cease and desist letters on each of the Former

Employees alleging that each had misappropriated trade secrets. Additionally, the cease and desist

letters alleged that Defendants Hanna, Daniels and Moody had violated employment agreements

signed during the period they were employed by USIC.

       6.      USIC threatened legal action against CIG and each of the Former Employees if they

did not immediately return and cease using USIC’s “trade secrets” and “confidential information,”

and immediately cease any competitive activity in violation of their agreements. Furthermore,



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USIC     demanded       that   each   Former    Employee      sign   and    return    a   notarized

“Confirmation/Agreement” certifying that no “confidential information” had been removed or

would be used, and confirming the validity and enforceability of the employment agreements.

USIC threatened legal action if the notarized “Confirmation/Agreements” were not returned by

October 19, 2016.

       7.        On October 19, 2016, CIG and the same Former Employee Defendants named in

the Indiana State Court Action, filed a Complaint in the District Court for the District of Nebraska

against the Plaintiffs in a matter styled Consolidated Infrastructure Group, Inc. et al. v. USIC,

LLC, et al., Case No. 8:16-cv-00472 (D. Neb. 2016) (hereinafter the “Nebraska Federal Action”).

The pending Nebraska Federal Action is between the same parties and arises from the same facts

and agreements at issue in the Indiana State Court Action.

       8.        In the Nebraska Federal Action, CIG and the Former Employees seek: (a) a

determination that CIG and the Former Employees have not misappropriated trade secrets under

the federal Defend Trade Secrets Act, 18 U.S.C. § 1836(c), and (b) a determination that the

restrictive covenants contained in the agreements signed by Hanna, Daniels and Moody are

unenforceable.

       9.        CIG and the Former Employees also seek injunctive relief against USIC in the

Nebraska Federal Court Action for antitrust and anti-competition violations and tortious

interference by USIC.

                                      II. Removal is Timely

       10.       Plaintiffs commenced this action in the Superior Court of Marion County, Indiana,

on November 9, 2016, three weeks after the Nebraska Federal Action was commenced.




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          11.   Defendant Coffield was served a summons and copy of the initial pleading

captioned “Complaint” on November 12, 2016. Defendant Coffield was the first defendant served

in this action. Defendant Hanna was served on November 16, 2016. Defendant CIG was served

on November 18, 2016. True and correct copies of all process, pleadings and orders received by

Defendants Coffield, Hanna and CIG, consisting of the Summons and Complaint, are attached

hereto as Exhibit A.

          12.   The removal of this action to this Court is timely under 28 U.S.C. § 1446(b) because

this Notice of Removal is filed within thirty (30) days after November 18, 2016, the date CIG was

served.

          13.   This District is the proper venue for filing the Notice of Removal pursuant to 28

U.S.C. § 1441(a) because this District includes Marion County, Indiana, which is where the

Indiana State Court Action was filed.

          14.   The Complaint attached hereto seeks declaratory and injunctive relief and alleges

that CIG and the Former Defendants conspired to misappropriate trade secrets and violate the

agreements signed by Hanna, Daniels and Moody at issue in the Nebraska Federal Court Action.

The Complaint further alleges that the defendants tortiously interfered with USIC and alleges that

the defendants violated Ind. Code § 34-24-3-1.

                       III. The Court Has Proper Diversity Jurisdiction

          15.   The Complaint alleges that Plaintiff USIC, LLC is a single member limited liability

company whose sole member is a Delaware corporation. [Exhibit A, Complaint, ¶ 1]. If true, the

joinder of CIG as a defendant destroys diversity of citizenship, because CIG is a Delaware

corporation, while maintaining its principal place of business in Omaha, Nebraska.




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       16.      Defendants assert that CIG was “fraudulently joined” to the latter filed Indiana

State Court Action, in an effort to destroy diversity and prevent this Action from being removed

and consolidated with the Nebraska Federal Court Action.

       17.      Defendants assert that there is no possibility that USIC can state a cause of action

against CIG in the Indiana State Court Action because CIG cannot constitutionally be subjected to

jurisdiction in the Superior Court of Marion County, Indiana. Fidelity & Deposit Co. of Md. v.

Sheboygan Falls, 713 F.2d 1261 (7th Cir. 1983).

       18.     CIG does not conduct business in Indiana and does not maintain any presence

within the state. CIG does not have any employees, offices, agents or property in the State of

Indiana. Nor does the Complaint allege facts to the contrary. CIG is not registered to conduct

business in the State of Indiana and does not maintain a registered agent for purposes of service.

To the contrary, Plaintiffs served CIG’s registered agent in Lincoln, Nebraska, by regular mail.

[See Exhibit A].

       19.     CIG has not entered into any agreement with USIC whereby CIG consented to

submit to jurisdiction in the State of Indiana, nor does the Complaint allege any facts to the

contrary.

       20.     The Complaint does not allege that CIG has purposefully conducted any activity

within, or directed any activity purposefully at, the State of Indiana. Instead, the Complaint alleges

that CIG conspired with others who allegedly owed duties to, or had agreements with, USIC. CIG

respectfully asserts that because the Superior Court of Marion County, Indiana, cannot possibly

assert personal jurisdiction over CIG without violating CIG’s constitutional due process rights,

CIG was “fraudulently joined.”




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       21.      Because CIG was “fraudulently joined,” the Court should disregard CIG for

purposes of determining diversity of citizenship. The Complaint concedes that none of the Former

Employees are Indiana citizens. [Exhibit A, Complaint, ¶¶ 4-9 ]. Since CIG is the only non-diverse

defendant, this Court has diversity jurisdiction pursuant to 28 U.S.C. § 1332(a)(1).

       22.      Defendants assert that the amount in controversy exceeds $75,000.

       23.      USIC concedes that the amount in controversy exceeds $75,000, as admitted in the

Complaint filed in the Indiana State Court Action. [Exhibit A, Complaint, ¶ 91].

             IV. Alternatively, The Court Has Proper Federal Question Jurisdiction

       24.      The Complaint generally alleges that the defendants misappropriated trade secrets,

but does not specifically allege that the defendants misappropriated trade secrets as defined and

protected under the laws of Indiana.

       25.      Pursuant to the Defend Trade Secrets Act (“DTSA”) enacted earlier this year, Publ.

L. 114-53, 130 Stat. 376, Congress specifically established and conferred federal question

jurisdiction on the United States District Court over civil actions pertaining to the theft of trade

secrets used in interstate or foreign commerce. 18 U.S.C. § 1836(c); see M.C. Dean, Inc. v. City

of Miami Beach, Florida, No. 16-21731-CIV, 2016 WL 4179807, at *3 (S.D. Fla. Aug. 8, 2016).

       26.      USIC and CIG are both engaged in interstate commerce and as demonstrated by the

facts pled in the Complaint, this dispute arises out of interstate commerce.

       27.      The Court has federal question subject matter jurisdiction over this dispute pursuant

to 28 U.S.C. § 1331 because this dispute arises under 18 U.S.C. § 1836(c).

             V. The Court Has Supplemental Jurisdiction Over State Law Claims

       28.      Defendants request removal of all non-federal state statutory and common law

claims on the grounds that this Court has supplemental jurisdiction over any such claims under 28

U.S.C. § 1367, because those claims arise out of the same operative facts as Plaintiffs’ DTSA
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claims, and are part of the same case or controversy under Article III of the United States

Constitution. 28 U.S.C. § 1367(a).

       29.     Defendants assert that none of the claims asserted by Plaintiffs in the Complaint

are deemed non-removable by any Act of Congress.

                                 VI. Consent of All Defendants

       30.     This Notice of Removal is filed on behalf of all Defendants and all Defendants join

and consent to removal of this action.

                                VII. Indiana State Court Notice

       31.     Concurrently with this Notice of Removal, Defendants will file a copy of this

Notice of Removal with the Superior Court of Marion County, Indiana. A copy of the written

notice of the Notice of Removal to Federal Court is attached hereto as Exhibit B.

       32.     In accordance with 28 U.S.C. § 1446(d), Defendants will promptly give written

notice to Plaintiffs by contemporaneously serving this Notice of Removal on Plaintiffs.

       33.     Defendants respectfully request and reserve the opportunity to fully brief, present

oral argument, and if necessary, present evidence in support of removal in the event removal is

challenged.

       WHEREFORE, Defendants pray that this action be removed from the Marion Superior

County, Marion County, Indiana, to the United States District Court for the Southern District of

Indiana, pursuant to 28 U.S.C. § 1441.

Dated: December 5, 2016                      Respectfully submitted,


                                             /s/ Jonathan D. Mattingly____________________
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Hanna, Zach Matney, Erin Moody, and Tom Orth




   8
                                  CERTIFICATE OF SERVICE

       I hereby certify that December 5, 2016, a copy of the foregoing was filed electronically.
Service of this filing is also being made by United States Postal Service on the following:

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                                            /s/ Jonathan D. Mattingly____________________
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